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 2                            UNITED STATES DISTRICT COURT
 3                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 4   UNITED STATES OF AMERICA,                      Case No. 2:21-cr-00491-SB
 5               Plaintiff,                         [PROPOSED] ORDER STRIKING
                                                    DEFENDANT’S POST-ARGUMENT
 6                       v.                         BRIEF RE MOTION TO SUPPRESS
                                                    STATEMENTS [ORDER GRANTING
 7   JEFFREY FORTENBERRY,                           THE GOVERNMENT LEAVE TO FILE
                                                    AN OPPOSITION TO DEFENDANT’S
 8               Defendant.                         POST-ARGUMENT BRIEF RE MOTION
                                                    TO SUPPRESS STATEMENTS]
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                                                    Indictment: 10/19/2021
10                                                  Pretrial Conference: 2/8/2022 at 8:00 a.m.
                                                    Trial: 2/15/2022 at 8:00 a.m.
11                                                  Last Day: 3/2/2022
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14   For good cause shown, IT IS HEREBY ORDERED THAT:
15         The government’s ex parte application for an Order striking defendant Jeffrey
16   Fortenberry’s (“defendant”) post-argument brief re motion to suppress statements, filed
17   on January 18, 2022 (Dkt. No. 79), is GRANTED. Docket number 79 is stricken as
18   untimely and for failure to obtain leave of the Court to file a late and oversized brief.
19         The government shall file its opposition to defendant’s second motion to suppress
20   statements, filed on January 18, 2022 (Dkt. No. 80), on or before February 1, 2022.
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22         [[OR IN THE ALTERNATIVE] The government’s ex parte application for an
23   Order striking defendant Jeffrey Fortenberry’s (“defendant”) post-argument brief re
24   motion to suppress statements, filed on January 18, 2022 (Dkt. No. 79), is DENIED.
25   The government shall file its opposition to defendant’s post-argument brief on or before
26   February 1, 2022.
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     Case 2:21-cr-00491-SB Document 82-2 Filed 01/20/22 Page 2 of 2 Page ID #:1158




 1         The government shall file its opposition to defendant’s second motion to suppress
 2   statements, filed on January 18, 2022 (Dkt. No. 80), on or before February 1, 2022. The
 3   government may file a consolidated opposition to both filings.]
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 7    DATE                                        HON. STANLEY BLUMENFELD JR.
                                                  UNITED STATES DISTRICT JUDGE
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